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U.S. COURTS
JUL 18 2017

RGVd FH¢¢`* Tlme_
STEPHEN W. KENYON
CLEHK. DlSTFilCT OF |DAHO

US District Court for the District of Idaho
RE: Case No. 14-cv215LAB

To Whom it may concern:

]ames Storm Shirley
1271 Manzanita Drive #108
Bozeman, MT 59715

]une 12th, 2017

I've not heard from the visiting ]udge, ]udge Larry Burns since December of 2015
Concerning my case. l have recently moved and need to formally update my address
accordingly. All such correspondence and contact needs to be directed to the above address
moving forward. The old address on at 1215 N. 25th Avenue #103 is NO LONGER VALID.

Please update this address in ALL your databases and let me know if there is any

ovement from ]udge Burns.

  
   
 

gm Shirley
50 351-2 580

